Case 1:21-cv-00081-SEB-MJD Document 115-1 Filed 06/11/21 Page 1 of 11 PageID #: 6648




                          Exhibit A
Case 1:21-cv-00081-SEB-MJD Document 115-1 Filed 06/11/21 Page 2 of 11 PageID #: 6649




                                                          1301 Pennsylvania Avenue, N.W.
                                                              Washington, D.C. 20004
        John C. O’Quinn, P.C.                                     United States
        To Call Writer Directly:                                                                                        Facsimile:
           +1 202 389 5191                                        +1 202 389 5000                                    +1 202 389 5200
      john.oquinn@kirkland.com
                                                                  www.kirkland.com



                                                                  June 10, 2021
           VIA EMAIL

           Diana Espinosa
           Acting Administrator
           Health Resources and Services Administration
           U.S. Department of Health and Human Services
           Rockville, MD 20857


                                Re:        Your Letter to Eli Lilly and Company dated May 17, 2021

      Dear Acting Administrator Espinosa:

              I write on behalf of Eli Lilly and Company (“Lilly”) in response to your letter of May 17,
      2021, following Judge Barker’s Minute Order entered on May 27, 2021, in Case No. 1:21-cv-81-
      SEB-MJD (S.D. Ind.), concerning the 340B Program. Lilly supports the goal of ensuring that all
      patients have meaningful access to prescription medications. Consistent with that long-held
      position, Lilly participates in and supports the 340B Program as it was originally intended by
      Congress, and continues to offer to this day its prescription drug products at steep discounts to all
      covered entities (even those without an in-house pharmacy), in order to directly serve low-income
      and indigent patient populations.

               Your letter reflects HRSA’s “determin[ation]” that Lilly is not in compliance with HRSA’s
      current interpretation of the 340B Statute, 42 U.S.C. § 256b. Contrary to views it previously
      expressed, HRSA now claims the 340B Statute unambiguously requires Lilly to “offer[] its
      covered outpatient drugs at the 340B ceiling price to covered entities through their contract
      pharmacy arrangements,” including where covered entities themselves do not purchase, take title
      to, or take possession of drugs prior to delivery to contract pharmacies.

              As explained below, Lilly respectfully submits that determination is both inconsistent with
      the agency’s prior conduct and public statements and wrong on the merits. Nor is there any lawful
      or reasonable basis for your threat to impose civil monetary penalties if Lilly does not accede to
      the agency’s latest change of position. Subject to those views, and reserving all of Lilly’s rights,
      I also address your request for an update with respect to Lilly’s future plans for repayment and
      contract pharmacy purchases.




Bay Area     Beijing   Boston     Dallas    Hong Kong   Houston   London   Los Angeles   Munich   New York   Paris   Shanghai   Washington, D.C.
Case 1:21-cv-00081-SEB-MJD Document 115-1 Filed 06/11/21 Page 3 of 11 PageID #: 6650




   I.     The May 17 Letter Constitutes an Unexplained and Unreasonable Departure from
          Prior Agency Statements and Conduct.

           Your May 17 letter’s “determin[ation]” that Lilly is in violation of the 340B Statute is
   arbitrary and capricious, in violation of the Administrative Procedure Act. Among other things, it
   represents an unexplained and unreasonable departure from the agency’s prior positions.

           To begin, your letter fails to acknowledge that HRSA has changed its views about what the
   340B Statute requires from the opinion expressed in the agency’s own longstanding guidance,
   which it has now disclaimed. First, in 1996, the agency issued guidance expressly limiting
   permissible contract pharmacy use to no more than a single contract pharmacy per covered entity,
   and did not require manufacturers to honor those contract pharmacy arrangements. See 61 Fed.
   Reg. 43,549, 43,551 (Aug. 23, 1996). In 2010, the agency issued further guidance suggesting that
   covered entities could enter an unlimited number of contract pharmacy arrangements, but still did
   not claim any statutory authority to force manufacturers to ship 340B product to those contract
   pharmacies and indeed expressly disavowed the notion that the new guidance imposed additional
   burdens on manufacturers. See 75 Fed. Reg. 10,272, 10,273 (Mar. 5, 2010) (“This guidance neither
   imposes additional burdens upon manufacturers, nor creates any new rights for covered entities
   under the law.”). But in the HHS General Counsel’s December 30, 2020 “Advisory Opinion,” the
   agency announced its view for the first time that the 340B Statute not only requires Lilly “to deliver
   its covered outpatient drugs to those contract pharmacies” at “no more than the 340B ceiling price”
   but that it does so unambiguously, U.S. Dep’t of Health & Human Servs. Office of the General
   Counsel, Advisory Opinion 20-06 on Contract Pharmacies Under the 340B Program, at 1 (Dec.
   30, 2020)—forcing the agency to disclaim its original 1996 guidance, which Lilly continues to
   honor. 1 Second, the agency’s 2010 guidance noted what the agency believed were the “essential
   elements” of any “contract pharmacy arrangement[],” including the requirement that “[t]he
   covered entity will purchase the drug, maintain title to the drug and assume responsibility for
   establishing its price.” 75 Fed. Reg. at 10,277. Your letter, however, purports to impose a blanket
   requirement that Lilly “offer[] its covered outpatient drugs at the 340B ceiling price to covered
   entities through their contract pharmacy arrangements,” regardless of whether the covered entity
   ever takes title to the drugs.

           But HRSA’s shifting guidance was not the only reason Lilly was surprised to receive your
   May 17 letter. As you know, that letter comes after numerous requests by Lilly seeking either
   clear guidance or a meeting to obtain HRSA’s or HHS’s view of whether the 340B Statute imposes
   an obligation to extend 340B prices to or through contract pharmacies—and the source of that

   1
           See Hearing Tr. 67:6-15, ASTRAZENECA Pharms. LP v. Becerra, No. 21-27-LPS (D. Del.
   May 27, 2021) (“THE COURT: ‘So 1996 guidance, limiting it to one contract pharmacy was a
   wrong interpretation of the statute; correct?’ MS. WESTMORELAND: ‘Imposing that limitation
   is not consistent with the agency’s understanding of the statute as expressed in the 2010 guidance
   and since that time.’ THE COURT: ‘And is that based on some amendment to the statute
   subsequent to 1996 guidance?’ MS. WESTMORELAND: ‘No, Your Honor . . . .’”).


                                                     2
Case 1:21-cv-00081-SEB-MJD Document 115-1 Filed 06/11/21 Page 4 of 11 PageID #: 6651




   supposed obligation (e.g., statute, regulation or guidance, or other provision). Rather than
   answering Lilly clearly, HRSA and HHS made multiple statements over the past 12 months, both
   in private and in public, repeatedly affirming the conclusion that there is no statutory or other
   binding requirement related to 340B contract pharmacy sales.

           Representations and actions by HRSA and HHS, relied upon by Lilly, demonstrate that the
   statute is far from clear as to whether manufacturers must honor contract pharmacy arrangements
   or whether there is any binding authority related to the same. These include:

          1. HRSA’s June 11 Response to Lilly’s May 18 Letter Regarding Cialis Distribution:
             On June 11, 2020, HRSA responded to Lilly’s May 18 proposal to distribute Cialis
             directly to covered entities and certain contract pharmacies by stating that contract
             pharmacies are “not independent covered entities” and that the agency’s “contract
             pharmacy advice” was “guidance” and did not constitute “binding regulations.”

          2. HRSA’s June 17 Response to Lilly’s Reply to HRSA’s June 11 Response: On June
             16, Lilly responded to HRSA’s June 11 email confirming its understanding “that the
             contract pharmacy guidance published by HRSA is advice and not a regulation, and
             thus does not impose binding obligations on manufacturers” and that “[a]lthough
             HRSA encourages Lilly to reconsider,” it does “not say that we are prohibited from
             moving forward.” Lilly also stated that “[i]f we have misunderstood your reply in any
             manner, please inform us immediately, as we will be moving forward soon.” On June
             17, HRSA responded only to confirm that its June 11 communication to Lilly was
             inadvertently addressed to an individual not affiliated with Lilly but raising no concerns
             about Lilly’s understanding of the substance of HRSA’s response.

          3. HRSA’s July Response to 340B Health’s Letter Regarding Cialis Distribution:
             According to a July 2020 340B Health “Member Alert,” HRSA corresponded with a
             trade association representing covered entities and stated that, in response to Lilly’s
             Cialis distribution plan, HRSA had “reviewed Lilly’s plan” and that “HRSA issued
             guidance in 2010 related to contract pharmacies; however, the guidance is not legally
             enforceable. HRSA’s current authority to enforce certain 340B policies contained in
             guidance is limited unless there is a clear violation of the 340B statute.”

          4. HRSA’s July 9 Statement to 340B Report: According to a July 9 article in 340B
             Report, HRSA responded to a reporter’s question related to the 2010 contract pharmacy
             guidance by stating, “[t]he 2010 guidance is still in effect. However, guidance is not
             legally enforceable. Regarding the 340B Program’s guidance documents, HRSA’s
             current authority to enforce certain 340B policies contained in guidance is limited
             unless there is a clear violation of the 340B statute.”

          5. HRSA’s August 20 Statement to Inside Health Policy: According to an August 20
             article in Inside Health Policy, HRSA stated that the agency “strongly encourages all
             manufacturers to sell 340B priced drugs to covered entities through contract pharmacy

                                                   3
Case 1:21-cv-00081-SEB-MJD Document 115-1 Filed 06/11/21 Page 5 of 11 PageID #: 6652




            arrangements” but that “[w]ithout comprehensive regulatory authority, HRSA is unable
            to develop enforceable policy to ensure clarity in program requirements across all the
            interdependent aspects of the 340B Program.” HRSA noted that it was “still
            considering this matter.”

         6. HRSA’s August 26 Response to Lilly’s August 19 Letter Regarding All Products:
            On August 19, Lilly wrote to HRSA to inform the agency that Lilly intended to expand
            the Cialis distribution program described in its May 18 letter to all products. In an
            August 26 letter, HRSA for the first time raised the specter of civil monetary penalties
            but again declined to identify any statutory violation precipitated by Lilly’s contract
            pharmacy distribution practices.

         7. HRSA’s Failure to Respond to Lilly’s Request After Lilly’s August 27 Email: On
            August 27, Lilly promptly responded to HRSA’s August 26 letter asking HRSA to
            explain, preferably by August 31—before Lilly was to expand its contract pharmacy
            distribution program to all products—whether Lilly was in “violation of the statute”
            and to “then please identify with specificity the agency’s grounds for that position.”
            HRSA never replied to that request.

         8. HHS’s September 21 Response to Lilly’s July 17 Letter and Meeting Request:
            Concurrently, Lilly had been seeking legal clarity from higher levels within HHS. On
            July 17, 2020, Lilly sent a letter to Deputy Secretary Eric Hargan and HHS General
            Counsel Robert Charrow explaining its understanding of the 340B Statute’s
            requirements and requesting a meeting to discuss the Cialis distribution program. Lilly
            wrote to “request a virtual meeting to discuss this matter with you at your earliest
            convenience and to identify options for avoiding costly and unnecessary litigation.”
            HHS responded two months later and did not accommodate Lilly’s meeting request
            (though the administrative record subsequently demonstrated that the HHS General
            Counsel’s office granted similar meetings requests from representatives of covered
            entities and contract pharmacies). Instead, on September 21, 2020, HHS threatened
            Lilly with possible civil monetary penalties and a qui tam action but did not clearly
            articulate any statutory violation related to Lilly’s distribution arrangements.

         9. HHS Office of General Counsel’s Failure to Respond to Lilly’s September 24
            Letter: On September 24, Lilly responded to HHS’s September 21 letter, stating that
            “[t]hese serious, converging threats are what prompted Lilly to ask HHS to confirm
            that it will not seek sanctions against Lilly, and consistent with HRSA’s prior
            statements, confirm that Lilly’s limited distribution program to contract pharmacies
            does not violate the 340B statute.” Lilly also pointed out that the HHS “letter raises
            only the spectre of potential qui tam actions, not of any direct enforcement action by
            the government. Nonetheless, the fact that you have identified this as a ‘potential
            consequence’ is still further reason that the government should promptly make its
            position clear.” The government did not respond.


                                                  4
Case 1:21-cv-00081-SEB-MJD Document 115-1 Filed 06/11/21 Page 6 of 11 PageID #: 6653




          10. HRSA’s Statement to the Government Accountability Office (GAO) in the
              December 14 Report: The GAO Report documents HRSA’s prior recognition that
              there is no clear language in the 340B Statute delineating rights or obligations
              pertaining to contract pharmacies. The GAO Report notes that “HRSA officials
              reported that there were instances among fiscal year 2019 audits in which the agency
              did not issue findings for a failure to comply with guidance related to contract
              pharmacies in part because the 340B statute does not address contract pharmacy use
              and, therefore, there may not have been a clear statutory violation.”

          11. HRSA’s December 14 Statement in the Preamble to the Administrative Dispute
              Resolution (ADR) Rule: In the preamble to the December 14 ADR Final Rule, HRSA
              stated that “a panel charged with resolving [a] dispute may find it necessary to resolve
              related issues such as whether someone is a ‘patient’ or whether a pharmacy is part of
              a ‘covered entity.’” 85 Fed. Reg. 80,632, 80,633 (Dec. 14, 2020). It is difficult to
              square HRSA’s position in the May 17 letter demanding immediate and unrestricted
              sales to or through contract pharmacies as an unambiguous requirement under the 340B
              Statute with its December 14 statement that ADR panels must decide whether contract
              pharmacies are “part of” a covered entity.

          12. HHS December 30, 2020 Advisory Opinion: Finally, HHS issued a final rule on this
              issue under the guise of a putatively “non-binding” advisory opinion. That advisory
              opinion “conclude[d]” for the first time that “a drug manufacturer in the 304B Program
              is obligated to deliver its covered outpatient drugs to those contract pharmacies and to
              charge the covered entity no more than the 340B ceiling price.” U.S. Dep’t of Health
              & Human Servs. Office of the General Counsel, Advisory Opinion 20-06 on Contract
              Pharmacies Under the 340B Program, at 1 (Dec. 30, 2020). Attorneys for the
              government have disavowed the Advisory Opinion as just “the general counsel’s
              advice” that has “absolutely no impact” on the totally “separate administrative process”
              of which the May 17 letter is a part. Hearing Tr. 40:1-11, 42:14-15, Eli Lilly & Co. v.
              Becerra, No. 1:21-cv-81-SEB-MJD (S.D. Ind. May 27, 2021).

           In light of this history, Lilly is troubled by the increasingly punitive tone of the
   government’s communications, culminating in your May 17 decision. Equally troubling was the
   May 17 letter’s failure to acknowledge the pending litigation on this matter, much less maintain
   consistency with HRSA’s stated position in that case. The agency’s frequent changes in its
   understanding of the 340B Statute’s relationship to contract pharmacies, and the statutory source
   (if any) for its preferred views, creates confusion, and is arbitrary and capricious. Federal agencies
   owe regulated parties, the public, and the courts a reasoned explanation when they change their
   mind about something. HRSA, however, has failed to provide this. In any event, as explained
   below, HRSA certainly cannot compound the problem by threatening to impose penalties on those
   who refuse to go along with the agency’s latest interpretation.




                                                     5
Case 1:21-cv-00081-SEB-MJD Document 115-1 Filed 06/11/21 Page 7 of 11 PageID #: 6654




   II.    The May 17 Letter Is Contrary to Law.

            Your May 17 letter’s interpretation of the 340B statute is also wrong. The 340B Statute’s
   plain language does not require Lilly to deliver discounted drugs to contract pharmacies or to
   putative patients of covered entities who acquire drugs through contract pharmacies. Instead, it
   requires Lilly to provide 340B discounts to “each covered entity.” 42 U.S.C. § 256b(a)(1).
   Congress identified the entities that qualify as a “covered entity” under the statute: certain
   children’s hospitals, cancer hospitals, critical access hospitals, and family planning clinics, among
   others. Id. § 256b(a)(4). Congress’s specific enumeration of these entities implies its conscious
   omission of contract pharmacies (and any other for-profit entities like them). See, e.g., United
   Dominion Indus. v. United States, 532 U.S. 822, 836 (2001). This is especially true because
   Congress chose to define what the term covered entity “means”—signifying an exhaustive list—
   not merely what that term “includes.” See 42 U.S.C. § 256b(a)(4); United States v. Philip Morris
   USA Inc., 566 F.3d 1095, 1114-15 (D.C. Cir. 2009). Given the “particularization and detail” of
   this provision, and the 340B Statute generally, there is no plausible argument that Congress
   inadvertently failed to include contract pharmacies or other similar for-profit entities in defining
   covered entities. Iselin v. United States, 270 U.S. 245, 250 (1926). Nor does Congress’s silence
   on the subject allow the agency to create new regulatory requirements the legislature did not. See,
   e.g., Aid Ass’n for Lutherans v. USPS, 321 F.3d 1166, 1174 (D.C. Cir. 2003) (rejecting as “entirely
   untenable under well-established case law” the argument “that the disputed regulations are
   permissible because the statute does not expressly foreclose the construction advanced by the
   agency”). Neither courts nor federal agencies have any “right, in the guise of construction of an
   act, to either add words to or eliminate words from the language used by congress.” GE Betz, Inc.
   v. Zee Co., Inc., 718 F.3d 615, 624-25 (7th Cir. 2013) (internal quotation marks omitted).

            In your May 17 letter, HRSA takes the position that Lilly is required to deliver 340B
   discounted drugs, not to covered entities, but to an unlimited number of contract pharmacies. That
   is inconsistent with the statute, and inconsistent with how the government has interpreted the
   statute for years. The 340B Statute applies to drugs “purchased by a covered entity,” and requires
   manufacturers to “offer each covered entity covered outpatient drugs for purchase at or below the
   applicable ceiling price.” 42 U.S.C. § 256b(a)(1). Nothing in the statute requires manufacturers
   to offer discounted drugs to contract pharmacies. And nothing in the statute transforms drug
   inventory ordered by a contract pharmacy into stock “purchased by a covered entity.” Id. The
   May 17 letter, however, effectively changes Congress’s commands. Instead of requiring
   manufacturers to offer discounted drugs to covered entities, as the statute requires, your letter
   purports to require manufacturers to deliver discounted drugs to contract pharmacies. That is not
   what the statute says—and it certainly is not unambiguously what it says, as HHS’s December 30
   Decision claims.

           The May 17 letter’s interpretive error is particularly clear in light of the way so-called
   “contract pharmacy arrangements” work in practice. Under the prevailing “replenishment model,”
   contract pharmacies sell drugs out of their regular inventory to patients, and only later deduce,
   often through algorithms, whether a patient might have been a patient of a covered entity, which
   could have made a purchase subject to a 340B discount. If so, the contract pharmacy will then ask


                                                    6
Case 1:21-cv-00081-SEB-MJD Document 115-1 Filed 06/11/21 Page 8 of 11 PageID #: 6655




   the manufacturer to provide it with an after-the-fact credit, or possibly additional quantities of the
   relevant drug, at 340B discounted prices, in order to “replenish” the contract pharmacy’s general
   inventory, all on the theory that some covered entity theoretically could have made (but, in fact,
   did not make) the purchase at 340B discounted prices (assuming the patient in fact was properly a
   patient of some covered entity). In this model, covered entities need not take title to 340B
   discounted drugs. Indeed, there is no sense in which either the originally dispensed drugs or the
   replenishment stock has been “purchased by a covered entity” from a manufacturer. Id. The only
   entity that purchases drugs in this model is a contract pharmacy, and Lilly has no statutory
   obligation to provide 340B discounts on such purchases.

           It would strain the statutory text beyond its breaking point to accept HRSA’s position that
   when Congress inserted the “purchased by” and “must offer” language into the 340B Statute, it
   meant to obligate manufacturers to acquiesce to the replenishment model and massively expand
   the scope of the 340B Program. Congress does not “alter the fundamental details of a regulatory
   scheme in vague terms or ancillary provisions,” nor does it “hide elephants in mouseholes.”
   Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 468 (2001). HRSA’s reading impermissibly
   smuggles in a vast expansion of the 340B Program, vitiating other provisions of the 340B Statute
   aimed at preventing the many ills (including price arbitrage) that such an expansion would work.
   See, e.g., 42 U.S.C. § 256b(a)(5). Indeed, given the significantly increased “opportunities for drug
   diversion” created by contract pharmacy schemes, it is affirmatively implausible to suggest that
   Congress intended to undermine its prohibitions on such diversion and upset the carefully-crafted
   340B Program by endorsing such a contract pharmacy scheme—much less through such an
   otherwise-unassuming provision. Perhaps that is why HRSA appears to have endorsed the
   “replenishment model” only in 2013, as part of a policy document aimed at GPOs—and without
   any hint that HRSA thought manufacturers were required to participate in contract pharmacies’
   use of such a model. See HRSA, 340B Drug Pricing Program Notice Release No. 2013-1,
   Statutory Prohibition on Group Purchasing Organization Participation (Feb. 7, 2013). And in any
   case, interpreting the 340B Statute as HRSA proposes would transform it into an unconstitutional
   condition. It would impermissibly burden and condition manufacturers’ access to Medicaid on an
   improper, A-to-B private wealth transfer in violation of the Takings Clause. Lingle v. Chevron
   U.S.A. Inc., 544 U.S. 528, 543 (2005). And it would do so without regard to the Supreme Court’s
   requirement that such conditions be proportional to public harms. See also Dolan v. City of Tigard,
   512 U.S. 374 (1994).

           Lilly complies entirely with the requirements of the 340B Statute, properly understood.
   Lilly not only offers full 340B discounts to all covered entities as required, but also voluntarily
   allows covered entities lacking an in-house pharmacy to designate one outside contract pharmacy
   to receive and dispense 340B product. This policy is consistent both with the plain language of
   the 340B Statute and its original intent, while protecting against the abuses inherent in the
   prevailing contract pharmacy model, in which covered entities do not “purchase” and need not
   take and maintain title to drugs that are dispensed to putative patients of the covered entities, let
   alone before or by the time of such dispensing.




                                                     7
Case 1:21-cv-00081-SEB-MJD Document 115-1 Filed 06/11/21 Page 9 of 11 PageID #: 6656




            As you know, the meaning of the 340B Statute is now at issue in pending litigation before
   multiple federal courts. In the case currently pending before Judge Barker, Lilly has sought review
   under the Administrative Procedure Act of HHS’s December 30, 2020 “Advisory Opinion,”
   because (among other reasons) it is inconsistent with the 340B Statute for the reasons articulated
   above. In addition, at the government’s urging, Lilly amended its complaint to present direct
   challenges to your May 17, 2021 letter and its final determination that Lilly is in violation of the
   340B Statute. At the end of that litigation, it will be for the courts to determine the meaning of
   federal law and whose interpretation of the 340B Statute is right. Lilly will of course abide by the
   courts’ final resolution of the merits of that question (including any appellate proceedings), and
   trusts that the agency will, too.

   III.   Lilly Should Not Be Subjected to Civil Monetary Penalties for Engaging in Good-
          Faith Litigation Necessary to Resolve Statutory Ambiguity.

           As discussed above, the 340B Statute does not obligate drug manufacturers to provide
   discounted drugs to (or through) an unlimited number of contract pharmacies, let alone in which
   covered entities do not purchase the drugs actually dispensed to their putative patients themselves.
   Certainly it does not do so unambiguously, in a way that would preclude reasonable disagreement
   on that question. At a minimum, the agency’s inconsistent positions, coupled with the length of
   time it took the agency to issue its (unexplained) May 17, 2021 letter, make clear that the 340B
   Statute is, at best for the agency, ambiguous on the question of whether sales to or through contract
   pharmacies are required. But even if the Court ultimately concludes that HRSA and HHS are right
   that Lilly is obligated to provide 340B discounted drugs to an unlimited number of contract
   pharmacies, there would be no basis to impose civil monetary penalties for past purported
   “overcharges” as the May 17 letter threatens. That is so for several reasons.

           First, civil monetary penalties are available only for “knowing[]” and “intentional[]”
   overcharges. 42 U.S.C. § 256b(d)(1)(B)(vi)(III). For all the reasons explained above and in Lilly’s
   briefs in the pending litigation matter filed in the U.S. District Court for the Southern District of
   Indiana, Lilly is not knowingly or intentionally engaged in any overcharges. Rather, it is abiding
   by an objectively reasonable interpretation of the 340B Statute’s terms and awaiting a final judicial
   determination about whether Lilly’s interpretation is correct.              Good-faith, reasonable
   disagreements about statutory requirements do not and cannot give rise to civil monetary penalties.
   See Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, 69-70 (2007) (one cannot act in reckless disregard
   of a statute’s meaning unless one’s interpretation is “objectively unreasonable”). That point has
   special force here, since in its 1996 Guidance, and for the majority of the 340B Program’s life,
   HRSA itself agreed with Lilly that the 340B Statute did not require manufacturers to work through
   an unlimited number of contract pharmacy arrangements. See, e.g., Tom Mirga, HRSA Says its
   340B Contract Pharmacy Guidance Is Not Legally Enforceable, 340B Report (July 9, 2020); June
   11, 2020 Ltr. from HHS to Lilly in response to Lilly’s Revised Distribution Plan (noting that
   “contract pharmacies” “are not independent covered entities” and that its “contract pharmacy
   advice” was “guidance” and not “binding regulations”); 61 Fed. Reg. at 43,550, 43,555. In
   proceedings before the U.S. District Court for the District of Delaware, the government has now
   disclaimed that interpretation. See supra n.1. To put it mildly, the agency’s acknowledged


                                                    8
Case 1:21-cv-00081-SEB-MJD Document 115-1 Filed 06/11/21 Page 10 of 11 PageID #:
                                    6657




 confusion about the 340B Statute’s meaning renders civil monetary penalties inappropriate.
 Indeed, it demonstrates that manufacturers do not act knowingly and intentionally by declining to
 adopt the agency’s evolving position: If the agency itself could not consistently and clearly
 identify the statutory command that Lilly is supposedly violating, then it cannot ascribe willfulness
 to Lilly’s failure to agree with the agency’s ultimate view.

          Second, civil monetary penalties would not be authorized by HHS’s own regulations under
 these circumstances. HHS’s own civil monetary penalties rule explains that “it is the actual sale
 of the covered outpatient drug above the 340B ceiling price by the manufacturers to the covered
 entity that is the subject of the overcharge per the statute.” 82 Fed. Reg. 1,210, 1,224 (Jan. 5,
 2017); see also 42 C.F.R. § 10.11(b) (defining “an instance of overcharging” as “any order for a
 covered outpatient drug, by NDC, which results in a covered entity paying more than the ceiling
 price … for that covered outpatient drug.”). Contrary to that clear instruction, your May 17 letter
 appears to treat as an overcharge Lilly’s refusal to honor contract pharmacies’ requests for
 chargebacks—i.e., to be reimbursed money for drugs the contract pharmacy (not the covered
 entity) purchased and then dispensed to a patient. That is not an overcharge, and civil monetary
 penalties do not attach to it. Moreover, HHS’s regulations on civil monetary penalties also make
 clear that there can be no overcharge if “a covered entity did not initially identify the purchase to
 the manufacturer as 340B-eligible at the time of purchase.” 82 Fed. Reg. at 1,221 (emphasis
 added). But as explained above, under the replenishment model, no one determines 340B
 eligibility “at the time of purchase.” Rather, contract pharmacies purportedly do that
 retrospectively.

         Third, your threat to impose thousands of dollars in civil monetary penalties for each
 instance of alleged overcharges, in addition to repayment, would be unconstitutionally
 disproportionate. That is true both under the Excessive Fines Clause, see Austin v. United States,
 509 U.S. 602, 609-10 (1993), and the Due Process Clause, see State Farm Mut. Auto Ins. Co. v.
 Campbell, 538 U.S. 408, 425 (2003). This would be especially excessive on those “penny priced”
 340B products at which Lilly is already effectively giving the product for free to 340B covered
 entities.

 IV.    Lilly’s Future Plans Regarding Contract Pharmacy Purchases.

          The May 17 letter requests that Lilly “provide an update on its plan to restart selling,
 without restriction, covered outpatient drugs at the 340B price to covered entities that dispense
 medications through contract pharmacy arrangements.” At present, it is Lilly’s plan to await and
 abide by the courts’ final resolution of the merits of the question presented in the instant litigation,
 and trusts that the agency will, too. In the event the courts find that manufacturers must honor an
 unlimited number of contract pharmacy arrangements, Lilly will work to establish a mechanism
 that ensures those arrangements are agency relationships where the covered entity actually
 (1) makes the purchase in advance of the 340B product being dispensed, (2) takes and maintains
 title, and (3) assumes responsibility for establishing the price, not delegating that to the contract
 pharmacy.



                                                    9
Case 1:21-cv-00081-SEB-MJD Document 115-1 Filed 06/11/21 Page 11 of 11 PageID #:
                                    6658




                                         *       *      *

          For all those reasons, we urge you to rescind your May 17, 2021 letter’s determination;
 withdraw the threat to seek civil monetary penalties to punish Lilly for disagreement with HRSA’s
 latest interpretation of the 340B Statute; and await a decision on the merits from the Article III
 courts charged with saying “what the law is.”

                                                     Sincerely,

                                                     /s/ John C. O’Quinn, P.C.
                                                     John C. O’Quinn, P.C.
                                                     Counsel for Eli Lilly and Company

 CC:    Andrew A. Kassof, P.C.
        Kate Talmor, U.S. Department of Justice




                                                10
